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                          UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS

 DENNIS HOGUE,

                        Plaintiff,

 v.
                                                       Case Number 19-cv-50151
 ILLINOIS DEPARTMENT OF
 CORRECTIONS, WARDEN JOHN VARGA,                       Hon. Judge John Robert Blakey
 WEXFORD HEALTH SOURCES, INC., DR.
 MERRILL ZAHTZ, NURSE SUSAN TUELL,                     Magistrate Judge Lisa A. Jensen
 and DOE NO. 1;

                        Defendants.

                           JOINT STATUS REPORT: DISCOVERY


       Plaintiff and Defendants, through their undersigned counsel, submit the following Joint
Status Report as required by the Court’s minute order of July 28, 2020.

Progress of Discovery

No discovery has occurred to date.

Dr. Zahtz, Nurse Tuell, Wexford and John Varga object to pursuing any discovery at this time.
They have filed and briefed a motion to dismiss that, if granted, would dispose of all claims
against them. Their position is that any discovery issued to these defendants, at this point, would
amount to wasteful litigation and put an unnecessary burden on them.

Plaintiff Dennis Hogue does not object to waiting until the pending motions are resolved before
engaging in discovery between the parties.

However, in the interest of streamlining the discovery process, the parties believe it would be
appropriate to issue subpoenas to third parties at this time. Therefore, the parties respectfully
request that the Court stay discovery except for subpoenas to third parties for records.




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  Respectfully Submitted,




   By: /s/ David E. Jimenez-Ekman, Esq.          By: /s/ Stephen J. Gorski
   One of the Attorneys for Plaintiff,           One of the Attorneys for Defendants,
   DENNIS HOGUE                                  WEXFORD HEALTH SOURCES, INC.,
                                                 DR. MERRILL ZAHTZ, and N.P. SUSAN
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   By: _/s/ Andrew O’Donnell__
   One of the Attorneys for Defendants
   JOHN VARGA and the ILLINOIS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 31, 2020, I electronically filed the foregoing document with

the clerk of the court for Northern District of Illinois, using the electronic case filing system of the

court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys of record in

this case.

                                                                   /s/ David E. Jimenez-Ekman, Esq.




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